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 9
                          UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
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      ROBERT ALEXANDER KASEBERG,      )             Case No.: 15cv01637JLSDHB
13                                    )
14                 Plaintiff,         )             PLAINTIFF ROBERT
                                      )             ALEXANDER KASEBERG’S
15           vs.                      )             OPPOSITION TO DEFENDANTS’
16                                    )             MOTION IN LIMINE NO. 1 FOR
      CONACO, LLC; TURNER             )             SEPARATE TRIALS ON THE
17
      BROADCASTING SYSTEM; TIME       )             ISSUES OF LIABILITY AND
18    WARNER, INC.; CONAN O’BRIEN;    )             DAMAGES OR, IN THE
19
      JEFF ROSS; MIKE SWEENEY; DOES 1 )             ALTERNATIVE, FOR AN
      – 10, inclusive,                )             OTDER CLOSING THE
20                                    )             COURTROOM
21                 Defendants.        )
                                      )
22
                                      )             Date: April 11, 2019
23                                    )             Time: 1:30 PM
                                      )             Dept: 4D
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 1    I.    INTRODUCTION
 2          Defendants’ Motion to Bifurcate the issues of liability and damages should
 3    be denied in its entirety for the following reasons.
 4    II.   ARGUMENT
 5          A.      Legal Standard
 6                  The party seeking bifurcation bears “the burden of proving that
 7    bifurcation is justified given the facts in [the] case.” Spectra-Physics Lasers, Inc.
 8    v. Uniphase Corp., 144 F.R.D. 99, 101 (N.D. Cal. 1992). Bifurcation is the
 9    exception, not the norm. See, e.g., Clark v. IRS, 772 F. Supp. 2d 1265, 1269 (D.
10    Haw. 2009) (“Bifurcation, however, is the exception rather than the rule of
11    normal trial procedure.”); Dallas v. Goldberg, 143 F. Supp. 2d 312, 315
12    (S.D.N.Y. 2001) (“[B]ifurcation remains the exception rather than the rule.”). In
13    general, a single proceeding will be a more efficient and reasonable means of
14    resolving the action. Gravity Defyer Corporation v. Under Armour, Inc.
15    WL 12138987, 2 (C.D. Cal. 2013).
16          Pursuant to Fed. R. Civ. P. 42(b), for convenience, to avoid prejudice, or to
17    expedite and economize, the court may order a separate trial of one or more
18    separate issues, claims, crossclaims, counterclaims, or third-party claims.
19          The factors considered by the court on a motion for separate trials include:
20          - Convenience: Whether separate trials would be in furtherance of
21               convenience
22          - Prejudice: Whether separate trials would avoid prejudice;
23          - Judicial economy: Whether separate trials would be “conducive to
24               expedition and economy;”
25          - Lessen the risk of confusion: Whether separate trials would simplify the
26               issues for the jury and reduce the danger of unnecessary jury confusion;
27          - Separable issues: Whether the issues are clearly separable.
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 1               Jones and Rosen, et al., Rutter Group Practice Guide: Federal Civil
 2               Trials and Evidence ¶ 4:492 (The Rutter Group 2018).
 3                  1. Convenience
 4           To begin with, there would be no convenience for bifurcating the liability
 5    portion of the trial from the damages portion of the trial. Defendants claim that
 6    because the “financial information underlying the damages calculations is highly
 7    confidential, ...the courtroom would likely need to be closed during any
 8    testimony about damages.” The idea is that all of this would be avoided by a
 9    defense verdict at the liability phase.
10           There are a few major flaws in this reasoning. First, it completely ignores
11    this Court’s statements at the pretrial conference. The Court is only going to have
12    each witness called to testify once. This was expressly stated. The following
13    witnesses are expected to provide testimony regarding both liability and
14    damages:
15           Robert Alexander Kaseberg – He will testify to both the events involving
16    the use of his jokes, communications with Defendants, his background as a
17    freelance comedy writer and the amount he is paid for jokes;
18           Mike Sweeney – He will testify to his conversations with the Conaco staff,
19    and with Plaintiff, his participation in the joke writing process, and will also
20    testify to his bonuses and compensation attributable to the jokes which relate to
21    Plaintiff's claim for disgorgement of revenues and profits;
22           Conan O’Brien – He will testify to his conversations with his staff, his
23    participation in the joke writing process, the jokes at issue, his shows policy and
24    procedures and will also testify to his bonuses and compensation attributable to
25    the jokes which related to Plaintiff's claim for disgorgement of revenues and
26    profits;
27           Jeff Ross - He will testify to the alleged infringement and discussions with
28    the staff, his participating in the joke writing process, policies and procedures of

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 1    the show, as well as his bonuses and compensation attributable to the jokes which
 2    related to Plaintiff's claim for disgorgement of revenues and profits.
 3          Conaco, LLC Person Most Knowledgeable – This individual will testify to
 4    the alleged infringement, documents produced by Conaco, LLC, responses to
 5    discovery, as well as Conaco, LLC’s revenues and profits related to the shows
 6    that contained the jokes at issue. Plaintiff is informed and believes that the
 7    person will likely be Defendant Ross on behalf of Conaco, LLC.
 8          Jeffrey Kinrich - Mr. Kinrich is both Defendants’ probability expert and
 9    damages expert. Mr. Kinrich will testify during the liability phase and will need
10    to recalled during the damages portion.
11          If the motion to bifurcate is granted, each and every one of these
12    individuals will have to testify two times, on different dates, at trial. This is
13    exactly what this Court wanted to avoid. This can hardly be considered fostering
14    convenience for the Court, parties and witnesses.
15          Defendants also claim that the person most knowledgeable for Defendant
16    Turner Broadcasting System ("TBS"), Ayesha Kardar, will be unavailable to
17    testify during the dates currently scheduled for trial in this matter due to a
18    maternity leave. First, Ms. Kardar was deposed strictly as a witness as to TBS'
19    revenues and profits related to the jokes at issue. Her deposition lasted 59
20    minutes. While Plaintiff certainly understands this conflict, Plaintiff has already
21    taken Ms. Kardar’s deposition and is willing to use her deposition testimony in
22    lieu of her testimony at trial. Defendant TBS also produced documents listing
23    gross revenue and profits as well as interrogatory responses listing the same. In
24    sum, Ms. Kardar's presence is not necessary. As such, her scheduling conflict is
25    not an issue for this case.
26                 2. Avoiding Prejudice
27          Defendants claim that should Plaintiff attempt to elicit testimony from
28    Conaco or Turner of gross revenues or budgets for the show, the large figures

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 1    involved could irreversibly prejudice the jury in a unified trial. This does not
 2    qualify as prejudice and in fact the gross revenues related to the jokes at issue are
 3    undoubtedly relevant to Plaintiff's damage claim. Defendants' alleged prejudice
 4    cuts both ways. Mr. Kaseberg will have to testify how much he earns for his
 5    jokes and Defendant's will likewise have to discuss the revenues they receive for
 6    jokes.
 7             Plaintiffs and large corporations are involved in lawsuits regularly, and
 8    their financial information is both disclosed to juries regularly. Model Jury
 9    Instruction 4.1 states "All parties are equal before the law and a corporation is
10    entitled to the same fair and conscientious consideration by you as any party."
11    The jury will be instructed accordingly. Ninth Circuit Model Jury Instruction 4.1
12    (2018). In fact, in Dallas v. Goldberg, Defendant made a similar argument
13    advanced by Defendants in this case. 143 F. Supp. 2d 312 (S.D.N.Y. 2001).
14    Defendants offered nothing to justify bifurcation other than generalized
15    assertions that the punitive damages phase of a trial should be separated from the
16    liability and compensation phases thereof, and that bifurcation would obviate any
17    prejudice that could accrue to Defendants from the exposure of financial
18    evidence during the liability phase of a trial. Dallas, 143 F. Supp. 2d at 315.
19    Defendants did not identify the financial information they intend to proffer or
20    explain how that evidence would be prejudicial with respect to liability. Id. The
21    Court noted cases denying motion to bifurcate liability and damages phases of the
22    trial where moving party failed to present particular factors to distinguish
23    potential prejudice from that which is normally dealt with through an appropriate
24    charge and curative instructions. Id. at 316. In sum, the way to deal with
25    potential prejudice is through an instruction. If Mr. Kaseberg must testify on
26    how much he makes on a joke, then Defendant's should have to do the same. The
27    rules do not apply differently to large corporations nor should they.
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 1          Further, regardless of whether financial information is disclosed, the
 2    Defendants are large corporations and the jury will already know that. Just
 3    because the dollar figures may be large does not entitle Defendants to a
 4    bifurcated trial. Plaintiff in principle has no issue with measures being taken to
 5    protect privacy and confidentiality. However, Plaintiff opposes bifurcation and
 6    specifically Defendants’ arguments that they will be prejudiced by hearing large
 7    numbers.
 8                 3. Judicial Economy
 9          Defendants next claim that the bifurcation would cause judicial economy
10    because in the event of a defense verdict, a damages trial would not be necessary
11    and also because if liability was found, the settlement negotiations would ensue.
12          Both of these arguments are speculative at best. To begin with, anyone can
13    make the statement that if that party wins at the liability phase, the damages trial
14    will not be necessary. That is the case in 100% of civil matters and if that were
15    the case every civil case should be bifurcated. This bare assertion has no
16    relationship to the facts of this specific case. Furthermore, the idea of a liability
17    decision in favor of Plaintiff driving settlement negotiations is also speculative.
18    This case has dragged on for almost four years and two settlement conferences
19    with no resolution. In order for there to be a settlement it must agreed to by both
20    parties. It is not one sided assertion. Therefore, what Defendants believe will
21    happen if Plaintiff prevails on liability is pure speculation.
22          Additionally, the necessity of bringing at least five witnesses back to
23    testify a second time at the damages trial does not foster judicial economy. In
24    fact, there are only two witnesses who would not need to testify if the case is
25    bifurcated. Those would be Plaintiff's damages expert Mr. Reith and Ms. Kardar,
26    who can be offered through deposition testimony. Plaintiff anticipates Plaintiff's
27    expert will be offered for no more than an hour to explain his opinion and how
28    gross revenues for the jokes at issue have been calculated. Ms. Kardar will be the

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 1    same or even less than an hour. In sum, if the case is bifurcated, the Court and
 2    parties would be saving at most 2 to 3 hours of time and would have to drag, Mr.
 3    O'Brien, Mr. Sweeney, Mr. Ross, Mr. Kaseberg, Conaco, LLC's representative
 4    and Mr. Kinrich back. Their testimony on revenues and profits will be short and
 5    should be dealt with at the same time they testify during the liability phase.
 6          Defendants also claim that the concept of closing the courtroom during
 7    certain phases of the trial when certain financial information is disclosed could be
 8    burdensome and that this would be avoided by bifurcation. This argument is
 9    flawed because it assumes that this procedure would occur expediently. Plaintiff
10    anticipates only asking a few questions of each witness who is testifying to
11    damages/financial information. Closing the courtroom for these few questions, if
12    the Court so chooses, would not cause any great inconvenience and far
13    outweighs, bringing back 5 witnesses and saving at most a few hours of time.
14                 4. Risk of Confusion
15          There is nothing to suggest that a jury will be confused with having the
16    liability and damages aspects of this case tried together. To the contrary, it is
17    more likely that a jury could become confused by a witness being called back to
18    testify a second time when there appears to be no reason why all of the questions
19    were not asked the first time.
20                 5. Separable Issues
21          While it is true that the issues of “infringement” and “damages as a result
22    of the infringement” are separable, it appears that this is the only factor weighing
23    towards bifurcation. However in almost every civil case damages and liability
24    are separable.
25    IV.   CONCLUSION
26          Defendants cannot meet their burden for bifurcation. As stated above, 4 of
27    the 5 factors weigh in favor of ruling against bifurcation. There are at least five
28    witnesses who will testify in the liability portion who also have information

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 1    related to damages. Those five witnesses would need to be brought back to Court
 2    should the case be bifurcated. Ms. Kardar's testimony can be offered through
 3    deposition if she is unavailable which should take less than an hour. Plaintiff's
 4    damages experts will testify for at most an hour in Plaintiff's case. Saving a few
 5    hours and recalling five witnesses is hardly worth the additional burden of having
 6    two trials. At most, the Court and the parties would be saving a few hours of
 7    time by bifurcating the matter. This does not justify the added time and expense
 8    of recalling witnesses, having a jury deliberate twice and all the other matters that
 9    would have to be done again should the case be bifurcated. Any perceived
10    prejudice can be dealt handled with the appropriate instruction as the law
11    indicates.
12          Plaintiff does not oppose measures taken by the Court to protect the
13    privacy of Parties such as an appropriate order closing the courtroom when
14    necessary. However, a bifurcation is unnecessary and the elements required to
15    order bifurcation have not been met.
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17
       Respectfully Submitted.

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19                                           J. LORENZO LAW
20
21
       Date: March 21, 2018                  /S/ RYAN J. ALTOMARE
22
                                             JAYSON M. LORENZO
23                                           RYAN J. ALTOMARE
24                                           Attorneys for Plaintiff
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